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United States District Court
District of Massachusetts

United States,
Plaintiff,

Civil Action No.
Vv. 22-CV-11120-NMG
Louis Font, et al.,

Defendant.

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MEMORANDUM & ORDER
GORTON, J.

This is an action to recover on federal tax liens placed on
a property owned by defendants Louis P. Font (“Font”) and Gale
Glazer (“Glazer”). The United States (“the government”) seeks
to reduce to judgment hundreds of thousands of dollars in
outstanding tax liabilities owed by Font and Glazer. The
government also requests a declaratory judgment ordering a
judicial sale of the property. To grant such relief, the Court
must first determine the relative priorities of any competing

claims to the saie proceeds under federal law. See Aguilino v.

United States, 363 U.S. 509, 513-514, 80 S. Ct. 1277, 4 L.Ed.2d

1365 (1960).
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Now pending before the Court is the government’s motion for
partial judgment on the pleadings, or in the alternative,
partial summary judgment declaring that certain named defendants
do not have any interest in the property at issue. For the
reasons that follow, the motion will be allowed.

I. Background

A. Factual History

In August, 1984, Fay M. Fogelman (“Fay”) conveyed by
quitclaim deed a property designated as Unit 7 in the Simmons II
Condominium, located at 86 Cypress Street in Brookline,
Massachusetts (“the Property”) to defendants Font and Glazer.

To facilitate the sale, Fay’s son Gerald S. Fogelman (“Gerald”),
loaned approximately $130,000 to Font and Glazer, secured by a
mortgage on the Property (“the Fogelman Mortgage”). The
Fogeiman Mortgage included a 30-year maturity date and was
recorded in the Norfolk County Registry of Deeds. In 2015,
Gerald died intestate. At the time of Gerald’s death, there was
no public record discharging the Fogelman Mortgage.

In April, 2004, Font and Glazer execuzed a second mortgage
on the Property (“the Second Mortgage), in favor of 1-800-East-
West Mortgage Company, Inc. (“Bast-West”). The mortgagee, East-—
West, subsequently assigned the mortgage tc Mcrtgage Electronic

Registration Services (“MERS”) which, in turn, assigned it to

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Specialized Loan Services, LLC (“SLS”), as attorney-in-fact for
Deutsche Bank National Trust Company as Trustee for IndyMac INDX
Mortgage Loan Trust, Series 2004-AR6, Mortgage Pass-through
Certificates, Series 2004-AR6. SLS continues to hold the Second
Mortgage.

Between tax years 2008 and 2019, Font and Glazer incurred
federal tax liabilities of $696,517. Beginning in 2013, the
government placed a series of notices of federal tax liens
(“NFTLS”) on the Property. Font and Glazer failed to pay the
liabilities despite proper notice and demand. Between May,
2019, and August, 2020, the Internal Revenue Service (“IRS”)
attempted to negotiate an offer in compromise (i.¢., an approval
to settle the tax debt for less than the full amount owed) with
Font and Giazer. The parties ultimately failed to reach an
agreement and the debt remains outstanding.

B. Procedural History

In July, 2022, the government filed the instant action in
federal ccurt seeking to reduce to judgment the unpaid tax
liabilities (Count I) and to establish the validity of the tax
assessments against the Fonts and to enforce the tax liens via
judicial sale of the Property, free and clear of all right,
title and interest of third parties (Count TI). The proceeds of

the sale are to be distributed:
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first, to pay the costs of the sale;

second, to the Town of Brookline, tc pay any real
estate taxes due and owing that are entitled to
priority under 26 U.S.C. §6323(b) (6); and

third, to plaintiff United States to pay the tax
liabilities established as valid, except to the extent
that the Court determines that another party has a
Superior claim, lien, or interest.

The government initially added three defendants to the
action due to their potential claims or interests in the
Property: East-West, Gerald Fogelman and tne Town of Brookline,
Massachusetts.! The government filed two amended complaints to
add and substitute certain defendants based on new information
with respect to potential interests in the Property.

The First Amended Complaint (“FAC”) repiaced Gerald with
his son, Yoel Fogelman (“Yoel”), and any unknown additional
heirs after Yoel informed the parties that Gerald had died in
2014. The FAC also substituted East-West for SLS, the current
mortgage administrator.*

The Second Amended Complaint (“SAC”) added as defendants

Ruth Fogelman (“Ruth”), the surviving spouse of Gerald, and

1 The parties stipulated that the Town would not seex to enforce liens against
the property during the pendency of the case and would pe required to
participate in the case only to the extent of complying with discovery
requests.

2 The parties stipulated to the seniority of the SLS interest in the Property
over the federal tax liens.

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seven additional intestate heirs: Naomi Hertzl (“Naomi”), Dvora
Rozenberg (“Dvora”), Michael Fogelman (“Michaei”), Daniel
Fogelman (“Daniel”), Avigjgail Aviva Weisglass (“Avigail”), Riba
Auerbach (“Riba”), and Ariel Tvi Fogelman (“Ariel”). In July,
2023, Ruth disclaimed her interest in the Property. In January,
2024, the Court allowed plaintiff's motion for default judgment
declaring that defendants Riba, Daniel, Naomi: and Dvora have no
right, title or interest in the Property.

In August, 2023, Font died. The Court allowed the joint
motion of plaintiff and defendant Glazer toe appoint Glazer as
representative of Font’s estate for purposes of the acticn.

Unlike Gerald’s otner named relatives, defendant Yoel
insisted that he and the other intestate heirs have remaining
interests encumbering the property. In his answer, Yoel alleges
that his father died in 2015

after years of being disabled and not being able to
take care of nimself, or any business matters,

and that Gerald did not receive loan payments from Font or
Glazer in the years before his death. Yoel admits that he does
not know the date of the last payment but indicates that his
conclusion is based upon personal communications with Glazer,

who could not provide proof of payment.
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In April, 2024, the government moved for partial judgment
on the pleadings or, in the alternative, for partial summary
judgment against the intestate heirs who remain as defendants to
the action: Yoel, Avigail, Michael, and Ariel (“the heirs”).
Plaintiff seeks a declaratory judgment that the heirs have no
interest in the Property. Yoel is the only heir to have filed a
response in opposition to the government’s motion.

Ir. Legal Standard

Although a Ruie 12(c) motion for judgment on the pleadings
considers the factual allegations in both the complaint and the
answer, it is governed by the same standard as a Rule 12 (b) (6)

motion to dismiss. See Perez-Acevedo v. Rivero-Cubano, 520 F.3d

26, 29 (ist Cir. 2008). To survive such a motion, the subject
pleading must contain sufficient factual matter to state a claim
for relief that is actionable as a matter of law and “plausible

on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

For a claim to be facially plausible, the pleadings must
show “more than a mere possibility that a defendant has acted
unlawfully.” Id. A plaintiff cannot merely restate
the defendant’s potential liability and the court is not
“bound to accept as true a legal conclusion couched as a factual

allegation.” Id.
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In considering the merits of such a motion, the Court must
accept all factual allegations in the complaint as true and draw
all reasonable inferences in the favor of the nonmoving party.

R.G. Fin. Corp. v. Vergara-Nunez, 446 F.3d 178, 182 (1st Cir.

2006). The Court may also consider documents if 1) the parties
do not dispute their authenticity, 2) they are “central to the
plaintiffs’ claim” or 3) they are “sufficiently referred to in

the complaint.” Curran v. Cousins, 509 F.3dq 36, 44 (lst Cir.

2007) (quoting Watterson v. Page, 987 F.2d 1, 3 (lst Cir.
1993})}).

III. Application

The crux of the dispute between the parties turns not on a
question of fact bur of law. -The government asserts that the
intestate heirs of Gerald have no interest in the Property
regardless of whether Font and Glazer had paid, in full, their
debt to Gerald because the Fogelman Mortgage was previously
discharged by exercise of the Massachusetts Obsolete Mortgage
Statute, M.G.L. c.260, § 33 (“OMS”).

The statute provides that a mortgage with a stated maturity
date shall be considered discharged five years after the
maturity date, unless the mortgagee reccrds notice that the
obligation remains outstanding. Here, the Fogelman Mortgage

included a 2014 maturity date and thus had a discharge date of

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2019. Neither Gerald nor his heirs recorded a notice of
outstanding debt that would toll the discharge date. By the
plain language of the statute, plaintiff argues, the Fogelman
Mortgage was therefore automatically discharged as of 2019.

Yoel maintains that the OMS allows for tolling of the
discharge deadline under the present circumstances. The statute
provides that

the period lof five years from the maturity date to
discharge]. shall not be extended by reason of non-
residence or disability of any person interested in
the mortgage or the real estate, or by any partial
payment, agreement, extension, acknowledgment,
affidavit or other action not meeting the requirements
of this section and sections 34 and 35 fof M.G.L.
Chapter 260!.

Yoel contends that he is eligible for an extension of the
discharge deadline because the statute prchibits extensions only
in the narrow circumstances enumerated. The text of the statute
does not prohibit extensions if the mortgagee dies and his heirs
were unaware of the mortgage when notice cf its extension needed
to be recorded.

The government acknowledges that there is no controlling
Massachusetts state law precedent regarding extensions of the
OMS deadlines but insists that both the text and purpose of the

statute make clear that it does not provide for an extension in

this case. After careful consideration, this Court agrees.

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When a federal court is facing a question of state law for
which there is no controlling state court orecedent, the federal
court may

certify a state law issue... to the state’s highest
court[] or undertake its prediction “when the course
[the] state courts would take is reasonably clear.”

VanHaaren v. State Farm Mut. Auto. Ins. Co., 989 F.2d 1, 3 (1st

Cir. 1993) (quoting Porter v. Nutter, 913 F.2d 37, 41 n.4 (1st

Cir. 1990)). This case presents a legal issue that is neither

“close” nor “difficult.” Easthampton Sav. Bank v. City of

Springfield, 736 F.3d 46, 51 (Jst Cir. 2013). This Court is

therefore weli-situated to make an “informed prophecy” of how
the Massachusetts Supreme Judicial Court (“SJC”%) would rule.

Showtime Entm’t, LLC v. Town of Mendon, 769 F.3d 61, 79 (1st

Cir. 2014).
It is axiomatic that where the language of a statute is
unambiguous, the courts must enforce that statute according to

its plain terms. United States v. Booker, 644 F.3d 12, 17 (1st

Cir. 2011). This Court will therefore deciine to adopt Yoel’s
statutory interpretation which would insert &@ major proviso into
the statute that is missing from the text and contrary to its

purpose.
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The language of the stanute is unamd>/.guous: a mortgage,
past a certain date, is automaticaéaliy discharged in fuil, unless
an interest holder makes a timely and proper notice of
extension. Grace periods are not allowed simply by virtue of
the non-resident or disapled status of tne interest holder.

The Fogelman mortgage had a maturity date of 2014, and
therefore had a discharge date of 2019. At ne point prior to
the discharge date did Geraid or his intestete heirs file a
timely and proper notice of extension. As such, the Fogelman
Mortgage was discharged in full in 2019.

The statute does not provide an exception for interest
holders who are unaware of that interest, let alone for anyone
not falling into the enumerated categories (i.e., non-residence
or disability). Te read such a sweeping exception into the
statute would effectively reverse the effect of the OMS by
“holding the door open” for nearly limitless extensions.

As the Massachusetts Court of Appeals articulates, the
state legislature

designed {the OMS] to create a definite point in time
at which an old mortgage will be deemed discharged by
operation of law -
Suffriti v. Shea, 100 Mass. App. Ct. 740, 743, 183 N.E.3d 1173,
1177 (Mass. App. Ct. 2022 (quoting Thornton v. Thornton, 97

Mass. App. Ct. 694, 696, 150 N.E.3d 790 (2020).

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The OMS and its related statutes, M.G.L. ¢c.260 §§ 34 and
35, achieve that goal by: (1) establishing dates past which
mortgages are deemed discharged in full; (2) specifying what
steps must be taken by interested parties if they are to extend
the discharge date; and (3) foreclosing extensions in
circumstances in which equitable tolling might typically apply,
such as disability or good-faith attempts to file timely but
non-compliant notices of extension,

Under Yoel’s proffered interpretation, extensions are
available for all interest holders so long as they do not fall
into one of the categories named in the statute, i.e., they were
unable to file a proper notice of extension by virtue of (1)
their non-residence of the property at issue or (2) their
disability. Any other obstacle preventing an interest holder
from complying with the terms of the OMS to extend the discharge
date would be validly invoked to warrant an extension. Thus,
otherwise obsolete mortgages could not be deemed discharged
until it was proven that no interest holder remained who could
qualify for an extension. It is unreasonable to assume that the
legislature intended to permit such a perpetual cloud on title

to property.

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ORDER
For the foregoing reasons, plaintiff's motion for partial
judgment on the pleadings (Docket No. 49) is ALLOWED. The
following defendants have no interest in the Property: Yoel
Fogelman, Abigail Weisglass, Michael Fogelman and Ariel
Fogelman.

So ordered.

VA. Mo te
Nathaniel M. Gorton
United States District Judge

Dated: February /Z, 2025

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